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            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                     NORTHERN DIVISION

ADIN GESS, NOACH NEWMAN,
MAYA PARIZER, NATALIE
SANANDAJI, YONI DILLER, HAGAR
ALMOG, LISHAY LAVI, DAVID
BROMBERG, and ARIEL EIN-GAL,                  Civil Action Case No.
                                              24 Civ. 00134
                           Plaintiffs,
                - v. -                        ORAL ARGUMENT
                                              REQUESTED
BAM TRADING SERVICES INC. d/b/a
BINANCE.US, a Delaware corporation, and
BINANCE HOLDINGS LTD. d/b/a
BINANCE, a foreign company, and
CHANGPENG ZHAO,


                              Defendants.


         BINANCE HOLDINGS LIMITED’S MEMORANDUM
          OF LAW IN SUPPORT OF MOTION TO DISMISS
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                         PRELIMINARY STATEMENT1
       This case concerns the abhorrent attacks of October 7, 2023 (the “Attacks”),

which Binance Holdings Limited (“BHL”) unequivocally condemns.                     The

perpetrators of the Attacks should be brought to justice, but they are not before the

Court. Instead, Plaintiffs are trying to hold an operator of a global, generally

available cryptocurrency exchange liable for the Attacks, asserting claims under the

Anti-Terrorism Act of 1990 (“ATA”) (18 U.S.C. § 2333(a)), the Justice Against

Sponsors of Terrorism Act (“JASTA”) (18 U.S.C. § 2333(d)), the Alien Tort Statute

(“ATS”) (28 U.S.C. § 1350), and state law.          As explained below, Plaintiffs’

Complaint fails as a matter of law for several reasons, and should be dismissed.

       First, as explained more fully in Sections III.A.2 and III.B of the moving brief

of Defendant Changpeng Zhao, in which BHL joins, several Plaintiffs lack standing

to assert ATA/JASTA and ATS claims.

       Second, as detailed in Section III.A of the moving brief of Defendant

Binance.US (“BAM”), in which BHL also joins, the Complaint should be dismissed

as an impermissible “shotgun pleading” because its confusing and conclusory

allegations run afoul of Federal Rules of Civil Procedure 8 and 10(b).




1
 Unless otherwise noted, capitalized terms have the same definitions as in the
Complaint (ECF No. 1) (“Compl.”), emphasis is added, and internal citations and
quotations are omitted.
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       Third, as discussed below, the Complaint fails to plead any basis for personal

jurisdiction over BHL.

       Fourth, the Complaint’s ATA primary liability claims fail because Plaintiffs

do not, and cannot, plausibly allege that BHL committed an “act of international

terrorism,” as the ATA requires, nor that BHL proximately caused Plaintiffs’ alleged

injuries.

       Fifth, the Complaint fails to plead ATA/JASTA aiding-and-abetting liability

against BHL, since, among other things, it does not plausibly allege that BHL

actively, intentionally, and knowingly assisted terrorists in carrying out any of the

Attacks; but rather, relies on conclusory allegations that terrorist organizations need

money to carry out their violent acts, some of the money the terrorists acquired

involved    digital   assets—including    through    Binance’s     generally-available

exchange—and BHL failed to implement adequate anti-money laundering controls

to prevent this, which is plainly insufficient under controlling Supreme Court

precedent. See Twitter, Inc. v. Taamneh, 598 U.S. 471, 483-84 (2023).

       Sixth, the Complaint fails to plead ATA/JASTA conspiracy liability, since it

does not adequately allege an agreement between BHL and any terrorist group, nor

an overt act in furtherance of such an agreement.

       Seventh, Plaintiffs cannot bring an ATS claim against BHL since (as the

Complaint acknowledges) BHL is a foreign corporation, and the Supreme Court has



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held that foreign corporations cannot be sued under the ATS. See Jesner v. Arab

Bank, PLC, 584 U.S. 241, 272 (2018).

      And finally, Plaintiffs’ state law claim—for negligent infliction of emotional

distress—is not cognizable under Alabama state law.

      For these and the reasons discussed below, the Court should dismiss the

Complaint.

                     THE COMPLAINT’S ALLEGATIONS
      Plaintiffs are nine individuals who allege they or their family members were

victims of the Attacks. While acknowledging that Hamas and the Palestinian Islamic

Jihad (“PIJ”) were the perpetrators of the Attacks, the Complaint seeks to hold BHL

liable for the Attacks, based on six theories: (1) aiding and abetting designated

foreign terrorist organizations (“FTOs”) (Count 1), and (2) conspiring with FTOs

(Count 2), both in violation of the ATA and JASTA, 18 U.S.C. §§ 2333(a), (d); (3)

providing material support to terrorists in violation of the ATA, 18 U.S.C. §§

2333(a), 2339A (Count 3); (4) providing material support to FTOs in violation of

the ATA, 18 U.S.C. §§ 2333(a), 2339B(a)(1) (Count 4); (5) aiding and abetting and

providing material support in furtherance of violations of United States law and

international treaties, in violation of the ATS, 28 U.S.C § 1350 (Count 5); and (6)

negligent infliction of emotional distress (Count 6).




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      But the Complaint contains no allegations tying BHL to the Attacks or the

terrorist groups that perpetrated them. Plaintiffs do not allege, for example, that

BHL (1) planned or participated in the Attacks, (2) intended to support the Attacks,

(3) had advance knowledge of the Attacks, or (4) had any connection to the Attacks’

perpetrators. Moreover, the Complaint does not—and could not—allege a single act

by BHL, nor even a single transaction by a Binance user, that funded or caused the

Attacks.

      Instead, the Complaint relies on disjointed allegations that, according to

Plaintiffs, suggest that: (1) Binance was accessed and used by customers with

connections to terrorism, often masking their location to avoid detection by BHL;

(2) BHL must have known that individuals associated with Hamas and other

terrorists were among the over 120 million users transacting on the Binance

exchange; and (3) BHL as a general matter did not follow anti-money laundering

(“AML”) laws and know-your-customer (“KYC”) rules, or file required Suspicious

Activity Reports (“SARs”). At bottom, Plaintiffs assert that BHL aided the Attacks

simply by providing a platform used by tens of millions of users, and failing to file

SARs, which Plaintiffs say made it harder for U.S. authorities to cut off the FTOs’

financing. (See, e.g., Compl. ¶ 48).




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Allegations That BHL Knew Hamas and Associated FTOs Were Using Binance
       To support their speculative assertions that BHL knew some of its 120 million

users had ties to Hamas and other terrorists, Plaintiffs rely on two sources of

information, which, together or separately, fail to support an ATA claim.

       U.S. Regulatory Actions: Plaintiffs rely most heavily on U.S. regulators’

statements and related materials, including a complaint by the Commodity Futures

Trading Commission, a 2023 Consent Order between BHL and the Financial Crimes

Enforcement Network (“FinCEN”), press releases by the U.S. Treasury Department,

and plea agreements with the Department of Justice (“DOJ”). But—as the actual

documents, rather than Plaintiffs’ cherry-picked excerpts, show—those materials

state only that BHL did not have adequate AML and sanctions controls, and failed

to register with FinCEN as a money service business. (See Declaration of Samson

A. Enzer in support of BHL’s Motion to Dismiss (“Enzer Decl.”) Exs. 1-5).2 None

of the regulators alleged that BHL intentionally supported any terrorist group, let

alone the Attacks. Indeed, as the Treasury Department acknowledged, despite its

AML lapses, BHL “proactively cooperated with global law enforcement and




2
  The Court may consider these materials in deciding BHL’s motion to dismiss,
because they were incorporated by reference into Plaintiffs’ Complaint. (See, e.g.,
Compl. at 17-19); Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“[A] court
may consider a document attached to a motion to dismiss [ . . . ] if the document’s
contents are alleged in a complaint and no party questions those contents.”).


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blockchain vendors to combat terrorist financing.” (See Enzer Decl. Ex. 2 (FinCEN

Consent Order) at 46). Moreover, most of Plaintiffs’ out-of-context quotes, which

they purport show BHL’s knowledge that terrorists were using Binance, are from

the regulators’ backward-looking reviews, which say nothing about whether BHL

knew any transactions were linked to terrorists at the time those transactions

occurred. And even when the Complaint tries to allege BHL’s contemporaneous

knowledge, it does so only in conclusory terms. (See, e.g., Compl. at 3 (“compliance

personnel and rank-and-file employees knew that its operations were being used to

fund Hamas, as well as other FTOs”); id. ¶ 47 (“[d]efendants moreover discussed,

planned and collaborated to continue processing transactions that they knew to be

illegal”)).

       Public Statements by Politicians: The Complaint also cites statements by

public figures about cryptocurrency, including statements from U.S. legislators that

Binance was used by bad actors to fund their activities, and calling for the DOJ to

crack down. (Id. at 15, 17). But the Complaint does not state the factual basis for

these politicians’ statements, and in any event the statements do not connect

Binance, nor any transactions on the exchange, to the Attacks.

      Allegations Attempting to Link BHL Users’ Transactions to Terrorists
Plaintiffs next allege that BHL “processed numerous transactions to entities and

accounts associated with Hamas and other FTOs.” (Id. at 6-7). For this sweeping



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  and conclusory allegation, Plaintiffs rely on “data from three blockchain analytics

  firms.” (Id. at 20). But that data is not attached to Plaintiffs’ Complaint, nor do

  Plaintiffs explain how the data links BHL users’ transactions to Hamas or other

  FTOs, nor whether those links would have been apparent to BHL at the time the

  transactions occurred. Plaintiffs also distort a CoinDesk.com article by suggesting

  it links BHL to a spike in donations to Hamas around May 2023, when in fact the

  article refers generally to cryptocurrency donations to Hamas in 2021, and reports

  that BHL blocked a wallet associated with Hamas. (Id.).

                                    ARGUMENT

 I.   NEARLY HALF THE PLAINTIFFS LACK STANDING UNDER THE
      ATA/JASTA OR THE ATS.
         Defendant Changpeng Zhao’s moving brief details why several of the

  Plaintiffs lack standing to bring claims under the ATA/JASTA or the ATS. To spare

  the Court additional and overlapping briefing, BHL joins in Mr. Zhao’s motion to

  dismiss those Plaintiffs’ claims for lack of standing. (See Apr. 14, 2025 Brief of

  Defendant Changpeng Zhao (“Zhao Br.”) at Sections III.A.2-III.B).

II.   THE COMPLAINT SHOULD BE DISMISSED AS AN IMPERMISSIBLE
      “SHOTGUN PLEADING.”
         Defendant BAM’s moving brief details why the Complaint—which

  repeatedly lumps all Defendants together under the term “Binance” without

  specifying which allegations apply to each—is an impermissible “shotgun pleading”

  under Federal Rules of Civil Procedure 8 and 10(b). (See Apr. 14, 2025 Brief of

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   BAM (“BAM Br.”) at Section III.A). BHL joins in BAM’s motion to dismiss the

   Complaint on these grounds.

III.   THE COMPLAINT FAILS TO ADEQUATELY PLEAD PERSONAL
       JURISDICTION OVER BHL.
           “[T]o survive a motion to dismiss for lack of personal jurisdiction, a

   plaintiff’s complaint must allege sufficient facts to make out a prima facie case of

   jurisdiction.” Mack v. Cooper Surgical, Inc., 2023 WL 2653365, at *2 (M.D. Ala.

   Mar. 27, 2023). This requires allegations that demonstrate both a statutory basis for

   jurisdiction and that the exercise of jurisdiction comports with due process. Republic

   of Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 942 (11th Cir.

   1997). Plaintiffs have demonstrated neither with respect to BHL.

          First, because jurisdiction is defendant-specific, a plaintiff must carry its

   burden as to each defendant. See Calder v. Jones, 465 U.S. 783, 790 (1984) (“Each

   defendant’s contacts with the forum State must be assessed individually.”).

   Plaintiffs have not even attempted to do that here. Instead, they impermissibly lump

   Defendants together for the purposes of pleading personal jurisdiction, claiming that

   “[a]ll Defendants are inextricably intertwined.”3 (Compl. ¶ 31; see also id. ¶ 18


   3
     To the extent Plaintiffs attempt to premise jurisdiction over BHL on a theory that
   BHL and BAM are alter-egos and any contacts BAM might have with the state of
   Alabama should be imputed to BHL, Plaintiffs have failed to adequately plead this
   in their Complaint. Not only does the Complaint lack any allegations necessary to
   an alter ego theory, such as domination and control or inadequate capitalization (see
   United Steelworkers of America, AFL-CIO-CLC v. Connors Steel Co., 855 F.2d

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(“Defendants are required to have a registered agent in Alabama in order to do

business in the state and, indeed, have a registered agent in Montgomery,

Alabama[,]” and “Defendants solicit and conduct substantial business in the State of

Alabama”)). Courts routinely reject conclusory group pleading of this sort, and this

Court should do the same here. See, e.g., Snow v. DirecTV, Inc., 450 F.3d 1314,

1318 n.3 (11th Cir. 2006) (no personal jurisdiction where plaintiff made “vague and

conclusory allegations” that the defendants “acted alone and in concert to commit

acts”); Tinsley v. BP Corp. North America, 112 F. Supp. 3d 1253, 1257-58 (N.D.

Ala. 2015) (no personal jurisdiction where plaintiff “lump[ed] all the named

defendants together as BP” and made “no particularized allegations about why the

exercise   of   personal   jurisdiction   over   [moving    defendants]    would    be

constitutional”).

      Second, Plaintiffs cannot rely on Federal Rule of Civil Procedure 4(k)(1)(C)

as a basis for jurisdiction over BHL, because Plaintiffs did not serve BHL within the

United States, as required by the rule. Rule 4(k)(1)(C) states that “[s]erving a

summons or filing a waiver of service establishes personal jurisdiction over a

defendant . . . when authorized by a federal statute.” Accordingly, where a federal




1499, 1505 (11th Cir. 1988)), but none of BAM’s alleged contacts with the state are
suit-related, and they are therefore incapable of supporting personal jurisdiction over
either Defendant. (See BAM Br. at Section III.B.2).


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statute, such as the ATA (18 U.S.C. § 2334(a)), allows nationwide service, Rule

4(k)(1)(C) “permits the exercise of personal jurisdiction over parties properly served

anywhere in the United States.” Zobay v. MTN Group Ltd., 695 F. Supp. 3d 301,

322 (E.D.N.Y. 2023). But the Eleventh Circuit has held that where, as here, the

defendant was not served in the United States, Rule 4(k)(1)(C) does not provide a

basis for the exercise of “personal jurisdiction over a party notwithstanding its lack

of contacts with the forum state.” Durham v. LG Chem, Ltd., 2022 WL 274498, at

*2 (11th Cir. Jan. 31, 2022) (per curiam) (Rule 4(k)(1)(C) inapplicable because

service was affected under the Hague Convention rather than pursuant to a federal

statute authorizing nationwide service); see also Doe v. Unocal Corp., 27 F. Supp.

2d 1174, 1183 (C.D. Cal. 1998) (“[I]t would be inappropriate for a federal court to

effectively extend the territorial reach of a federal statute by applying a national

contacts test for personal jurisdiction where service is not effected pursuant to that

federal statute.”).

       Here, there can be no dispute that BHL was never served. To allow the Parties

to litigate this motion, the Parties entered into a stipulation that explicitly provided

that BHL “do[es] not concede that service has been effectuated within the Middle

District of Alabama (or anywhere else), and Plaintiffs agree not to argue that the

waiver affects any of [BHL’s] other rights, defenses, or objections (including but not

limited to defenses based upon lack of personal or subject matter jurisdiction . . . .”



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(ECF No. 15, ¶ 1). Per the terms of the Parties’ stipulation, BHL has not conceded

service in this action and it has not been served, and therefore cannot be subject to

personal jurisdiction under Rule 4(k)(1)(C). And even if BHL were served overseas

under the Hague Convention, this would be insufficient to confer jurisdiction under

Rule 4(k)(1)(C). Durham, 2022 WL 274498, at *2.

       Third, Plaintiffs have not pled that BHL has contacts—with either the State

of Alabama or the United States as a whole—sufficient to support the exercise of

personal jurisdiction.4 See Moore v. Lowe, 591 F. Supp. 3d 1087, 1102 (N.D. Ala.

2022) (specific jurisdiction requires that “the defendant’s suit-related conduct . . .

create a substantial connection with the forum State”). Indeed, the Complaint fails

to allege any contacts between BHL and the state of Alabama, much less specific

contacts “related to” or “giving rise” to Plaintiffs’ claims. Id. To the extent Plaintiffs

seek to premise jurisdiction on BHL’s nationwide contacts, that too fails because,

again, those contacts are not suit-related. See, e.g., In re LIBOR-Based Financial

Instruments Antitrust Litig., 2019 WL 1331830, at *22 (S.D.N.Y. Mar. 25, 2019)


4
  Alabama’s long arm statute “permits its courts to exercise jurisdiction over
nonresidents to the fullest extent allowed under the Due Process Clause of the
Fourteenth Amendment to the Constitution.” Ruiz de Molina v. Merritt & Furman
Insurance Agency, Inc., 207 F.3d 1351, 1355-56 (11th Cir. 2000). Accordingly, the
statutory and due process requirements merge, and a court may only exercise
personal jurisdiction where the defendant “has some minimum contacts” with the
state, and “the exercise of personal jurisdiction over the defendant would not offend
traditional notions of fair play and substantial justice.” Id. at 1356.


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  (“[I]n evaluating the existence of personal jurisdiction for federal claims arising

  from statutes with nationwide service of process provisions, we would make a

  minimum contacts inquiry and examine a defendant’s suit-related contact with the

  entire United States, rather than just the forum state.”). BHL’s alleged connections

  to the U.S. boil down to allegations that BHL represented to regulators that it was

  not operating in the U.S., while permitting U.S. users to transact on the Binance

  platform, including with users in Iran. (See, e.g., Compl. at 6, 9). But there is no

  allegation that any transactions involving U.S. users funded or were linked to the

  Attacks in any way. Without some nexus between Plaintiffs’ claims and the forum,

  this Court cannot exercise personal jurisdiction over BHL consistent with the State’s

  long-arm statute, the Federal Rules, or due process.

IV.   THE COMPLAINT FAILS TO STATE A CLAIM FOR PRIMARY
      LIABILITY UNDER THE ATA (COUNTS 3 AND 4).
         Plaintiffs attempt to hold BHL liable as a primary violator under the ATA

  (Counts 3 and 4), but this lacks any legal basis.5 In 1992, Congress enacted the ATA




  5
    Plaintiffs’ theory of primary liability is nearly identical to (and in several instances
  taken verbatim from) the claims Judge Koeltl of the Southern District of New York
  recently dismissed in Raanan v. Binance Holdings Ltd., 2025 WL 605594 (S.D.N.Y.
  Feb. 25, 2025). Moreover, in Newman v. Associated Press, 2024 WL 5063288 (S.D.
  Fla. Dec. 10, 2024), Judge Moore of the Southern District of Florida dismissed
  primary liability (and secondary liability) claims brought by several of these same
  plaintiffs (Gess, Newman, Parizer, Sanandaji, and Diller), alleging five of the same
  causes of action, also related to the October 7 Attacks.


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to hold terrorists accountable for their actions. In 2016, Congress amended the ATA

by enacting JASTA, to create aiding-and-abetting liability for non-terrorists under

certain narrow circumstances (not presented here, see infra at Section V). See

Twitter, 598 U.S. at 483-84. Since JASTA was passed, courts have consistently

rejected attempts to bring ATA primary liability claims against entities that are not

terrorist organizations. See, e.g., King v. Habib Bank Ltd., 2022 WL 4537849, at *5

(S.D.N.Y. Sept. 28, 2022) (post-JASTA cases generally “recognize that liability for

banking services provided to support a terrorist group’s mission more generally are

properly analyzed under JASTA’s aiding-and-abetting provision”); O’Sullivan v.

Deutsche Bank AG, 2019 WL 1409446, at *8 (S.D.N.Y. Mar. 28, 2019) (“The

Complaint does not allege plausibly that the provision of banking services, which

are not inherently violent or dangerous, can be considered as acts dangerous to

human life.”). But that is precisely what Plaintiffs are impermissibly trying to do

here.

        A. The Complaint Fails to Adequately Allege That BHL Committed an
           Act of International Terrorism, Nor Could It.
        Plaintiffs cannot state an ATA primary liability claim because the Complaint

fails to plausibly allege that BHL committed “an act of international terrorism” as

required by the statute. Under Title 18, United States Code, Section 2331, acts of

international terrorism are those that:




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      (A) involve violent acts or acts dangerous to human life [i] that are a violation
      of the criminal laws of the United States or of any State, or [ii] that would be a
      criminal violation if committed within the jurisdiction of the United States or of
      any State; [and]

      (B) appear to be intended— (i) to intimidate or coerce a civilian population;
      (ii) to influence the policy of a government by intimidation or coercion; or
      (iii) to affect the conduct of a government by mass destruction, assassination,
      or kidnapping; and
      (C) occur primarily outside the territorial jurisdiction of the United States, or
      transcend national boundaries[.]

Id. The Complaint falls short under Sections (A) and (B).

      No Violent or Dangerous Acts. Plaintiffs do not even try to allege that BHL

committed violent or dangerous acts (nor could they). Instead, Plaintiffs allege that,

at some point, BHL provided routine transaction services to individuals or entities

later identified as having unspecified connections to Hamas or PIJ. But courts have

consistently ruled that providing ordinary transaction services, even if used by a

terrorist organization, is not sufficient to plead a violent or dangerous act. See Weiss

v. Nat’l Westminster Bank, PLC, 993 F.3d 144, 162-63 (2d Cir. 2021) (“[T]he

provision of banking services, in and of itself, is insufficient either to show that the

services involved an act of violence or threat to human life or to give the appearance

that such services were intended to intimidate or coerce a civilian population or

government.”); Raanan, 2025 WL 605594, at *15-16 (S.D.N.Y. Feb. 25, 2025)

(same; collecting authority and dismissing claim). The same is true even if the

services violated AML or sanctions laws. See Kemper v. Deutsche Bank AG, 911


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F.3d 383, 390 (7th Cir. 2018) (“That [defendant’s] business dealings may violate

U.S. sanctions does not convert them into terrorist acts.”).

      No Criminal Law Violations. Nor does the Complaint adequately allege a

criminal act by BHL. Plaintiffs assert in conclusory terms that BHL violated Title

18, United States Code, Sections 2339A (making it a crime to provide material

support or resources “knowing or intending that they are to be used in preparation

for, or in carrying out a violation of” specified criminal statutes) (Count 3) and 2339B

(making it a crime to “knowingly provide[] material support or resources to a [FTO]”)

(Count 4). However, the Complaint does not come close to pleading the requisite

mens rea for either offense. At best, Plaintiffs allege that certain Binance users

transacted with individuals or entities somehow associated with Hamas or PIJ, and

that BHL at some point became aware of those transactions. Those allegations do

not plausibly suggest that BHL knew—at the time BHL provided those services—

that any particular transaction was connected to Hamas or PIJ, or their acts of terror.

See Newman, 2024 WL 5063288, at *13-14 (alleging “mere notice” of third parties’

“relationship with Hamas” is insufficient to satisfy mens rea requirement under §§

2339A or B). In any event, even if these allegations were sufficient to plead a

criminal violation, “it is not enough to allege claims under §§ 2339A and B to

automatically render them acts of international terrorism[,]” and as such Plaintiffs’




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failure to plead a violent act by Binance would still be fatal. Id. at *11 (collecting

authority); Raanan, 2025 WL 605594, at *15-16 (same).

       No Objective Terroristic Intent. The Complaint similarly does not satisfy

Subsection (B) of Section 2331 because it lacks any factual allegations (as opposed

to conclusory assertions) that BHL acted with objective terroristic intent (i.e., an

intent to intimidate or coerce a civilian population or influence a government). To

establish objective terroristic intent, Plaintiffs must show that BHL processed

transactions explicitly identified as payments for terrorist activities. See, e.g.,

Averbach v. Cairo Amman Bank, 2022 WL 2530797, at *19 (S.D.N.Y. Apr. 11,

2022).6 And the law is clear that providing routine transaction services to persons or

entities “with connections” to terrorist organizations—as opposed to the

organizations themselves—is insufficient. See, e.g., O’Sullivan, 2019 WL 1409446

at *7-8 (no terroristic intent where defendants allegedly provided financial services

to Iranian banks and businesses “with connections to terrorist organizations,” as

opposed to providing services directly to terrorists). That is the extent of the

allegations here. (See, e.g., Compl. at 6-7 (alleging that BHL “processed numerous

transactions to entities and accounts associated with Hamas and other FTOs”); id. at


6
  Cf. Linde v. Arab Bank, PLC, 882 F.3d 314, 321 (2d Cir. 2018) (holding that
defendant bank processing transfers that “were explicitly identified as payments for
suicide bombings” was sufficient to create triable issue of fact as to whether the bank
acted with the requisite intent).


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18 (alleging that the DOJ and FinCEN identified “[c]rypto wallets at Binance” that

“were found to interact [at unspecified times] with bitcoin wallets associated with”

FTOs)).

      B. The Complaint Fails to Adequately Allege That BHL Proximately
         Caused Plaintiffs’ Alleged Injuries.
      The Complaint’s failure to plausibly allege proximate causation is an

independent basis for dismissal of Counts 3 and 4. See In re Terrorist Attacks on Sept.

11, 2001, 714 F.3d 118, 125 (2d Cir. 2013) (“[T]he [ATA] restricts the imposition of

such liability to situations where plaintiffs plausibly allege that defendants[’] actions

proximately caused their injuries.”).

      To plead proximate causation, Plaintiffs must plausibly allege that they were

injured “by reason of” an act that BHL itself—not Hamas or PIJ—committed. Fields

v. Twitter, Inc., 881 F.3d 739, 744 (9th Cir. 2018) (“[T]o satisfy the ATA’s by reason

of requirement, a plaintiff must show at least some direct relationship between the

injuries that he or she suffered and the defendant’s acts.”); Rothstein v. UBS AG, 708

F.3d 82, 97 (2d Cir. 2013) (no proximate cause where plaintiff failed to allege

“relationship between the cash transferred by UBS to Iran and the terrorist attacks

by Hizbollah and Hamas that injured plaintiffs”). The Complaint does not come close

to meeting this standard. Plaintiffs rely on the conclusory assertion that BHL’s

provision of routine transaction services in some way caused the Attacks, and thereby

caused Plaintiffs’ injuries. (See, e.g., Compl. ¶¶ 35, 46, 77). Courts routinely dismiss


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 ATA claims that rest on such allegations. See, e.g., Raanan, 2025 WL 605594, at *17

 (finding nearly identical allegations insufficient to show proximate cause); In re

 Terrorist Attacks, 714 F.3d at 124 (“We also are not persuaded that providing routine

 banking services to organizations and individuals said to be affiliated with al Qaeda . .

 . proximately caused the September 11, 2001 attacks or plaintiffs’ injuries.”); Zapata

 v. HSBC Holdings PLC, 414 F. Supp. 3d 342, 356 (E.D.N.Y. 2019) (no proximate

 cause where plaintiffs failed to allege “any relationship between [defendant bank’s]

 money laundering and the acts of violence perpetrated against them”).

V.   THE COMPLAINT FAILS TO STATE AN AIDING-AND-ABETTING
     CLAIM UNDER THE ATA AND JASTA (COUNT 1).
        JASTA imposes civil liability on “any person who aids and abets, by

 knowingly providing substantial assistance, . . . the person who committed [the] act

 of international terrorism” that injured the plaintiff. 18 U.S.C. § 2333(d)(2). To

 plead an aiding-and-abetting claim under JASTA, a plaintiff must allege the

 defendant: (1) “knowingly and substantially assist[ed] the principal violation” and

 (2) [was] generally aware of his role as part of an overall illegal or tortious activity

 at the time that he provide[d] the assistance.” Twitter, 598 U.S. at 486. The

 Complaint fails to adequately plead either element.7


 7
  The district court in Raanan recently permitted a JASTA aiding-and-abetting claim
 to proceed against BHL. 2025 WL 605594. That decision is not binding on this
 Court, and BHL respectfully submits that it was wrongly decided for the reasons set
 forth in its motions for reconsideration and to certify an interlocutory appeal.

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          A. The Complaint Does Not Allege That Defendants Knowingly and
             Substantially Assisted the Attacks.
      Twitter established a demanding standard for the knowing and substantial

assistance element, which requires a plaintiff to demonstrate that (1) there is a

sufficient nexus between the defendant’s conduct and the plaintiff’s injuries, and (2)

the defendant’s participation was conscious, voluntary, and culpable. 598 U.S. at

493-94, 506. The Complaint fails on both fronts.

      Twitter instructs that the aiding-and-abetting analysis begins by evaluating the

nexus (if any) between the defendant’s conduct and the specific attack that injured

the plaintiffs. Id. at 497 (“[B]ecause they are trying to hold defendants liable for the

Reina attack, plaintiffs must plausibly allege that defendants aided and abetted ISIS

in carrying out that attack”); see also id. at 506 (“The point of aiding and abetting

is to impose liability on those who consciously and culpably participated in the tort

at issue. The focus must remain on assistance to the tort for which plaintiffs seek

to impose liability.”). The Supreme Court elaborated that providing substantial

assistance to terrorists’ “activities in general” is not sufficient to impose aiding-and-

abetting liability; “the question is whether defendants gave substantial assistance to

[the FTO that carried out the attack] with respect to the [specific] attack. The focus




Raanan v. Binance Holdings Limited, No. 24 Civ. 697 (JGK) (S.D.N.Y. 2024) (ECF
Nos. 58, 62). Both motions are scheduled for oral argument on April 22, 2025.


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thus must remain on the [specific] attack[.]” Id. at 503; see also id. at 495 (“[I]t is

not enough . . . that a defendant [has] given substantial assistance to a transcendent

enterprise separate from and floating above all the actionable wrongs that constitute

it.”).

         Under Twitter, there is an inverse relationship between nexus and intent. A

showing of more direct and significant assistance (i.e., a direct and concrete nexus)

may reduce the required showing of intent, whereas a weak nexus “drastically

increases” the pleading burden for intent. 598 U.S. at 503; see id. at 500 (where

there is “distance between [the] defendants’ acts (or failures to act) and the . . . attack

[that injured the plaintiffs], plaintiffs would need some other very good reason to

think that defendants were consciously trying to help or otherwise participate in the

. . . attack.”). In other words, “the more attenuated the nexus, the more courts should

demand that plaintiffs show culpable participation through intentional aid that

substantially furthered the tort.” Id. at 506; see also Zobay, 695 F. Supp. 3d at 345

(“If the relationship between a defendant’s assistance and the ultimate tortious act is

attenuated, then plaintiffs need some other very good reason to think that defendants

were consciously trying to help or otherwise participate in the [specific] attack.”)

(quoting Twitter, 598 U.S. at 500 (alteration in original)).

         Here, the Complaint comes nowhere close to pleading a “definable nexus

between . . . [D]efendants’ [alleged] assistance and the [A]ttack.” Twitter, 598 U.S.



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at 503. Rather, the Complaint alleges only that BHL’s historical AML lapses

enabled users allegedly associated with Hamas and other FTOs to access Binance,

and that the FTOs then used these funds to commit terrorist attacks. (See Compl. at

16-19). The Complaint discusses in the broadest terms how FTOs have exploited

cryptocurrency (as they of course have all types of currency) as part of their

fundraising efforts. (See id. at 20, ¶ 36). But nowhere does the Complaint plead

facts demonstrating how any transactions on the Binance exchange are “connect[ed]

or link[ed]”8 to the Attacks that caused Plaintiffs’ alleged injuries. At most, the

allegations amount to “assistance to [the FTO’s] activities in general,” which Twitter

explicitly held is insufficient. 598 U.S. at 503 (overturning Ninth Circuit decision

that “framed the issue of substantial assistance as turning on defendants’ assistance

to ISIS’ activities in general”).

        Where, as in this case and Twitter, there is no “definable nexus” between

Defendants’ acts or omissions and the attack, a JASTA claim is insufficient unless

Plaintiffs can plausibly allege that Defendants consciously and “culpably associate[d

themselves] with the [A]ttack, participate[d] in it as something that [they] wishe[d]

to bring about, or sought by [their] action to make it succeed.” Id. at 498 (second

alteration added). Here, the Complaint comes nowhere close to meeting that



8
    Nexus, Black’s Law Dictionary (12th ed. 2024).


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“drastically increase[d]” requirement. 598 U.S. at 503. The closest Plaintiffs come

to alleging any facts related to intent are allegations that BHL was aware FTOs were

using its services and that it failed to stop that use. (See Compl. at 3, 5-6, ¶¶ 46, 62).

Twitter made clear that these types of allegations are insufficient. 598 U.S. at 503

(“The fact that some bad actors took advantage of these platforms is insufficient to

state a claim that defendants knowingly gave substantial assistance and thereby

aided and abetted those wrongdoers’ acts.”).

      Moreover, like the social media platforms at issue in Twitter, the Binance

exchange is global in scale, serves hundreds of millions of users (Compl. at 17), and

“there are no allegations that defendants treated [FTOs] any differently from anyone

else.” 598 U.S. at 500. Far from giving FTOs special treatment, BHL sought to

keep them off its platform. (See Enzer Decl. Ex. 2 (FinCEN Consent Order) at 46

(BHL “proactively cooperated with global law enforcement and blockchain vendors

to combat terrorist financing.”)). Absent any allegations that BHL favored or

attempted in any way to aid terrorists, let alone a specific attack, the Complaint

clearly fails to plead the requisite “strong showing of assistance and scienter” that

Twitter demands. Twitter, 598 U.S. at 500.

      Given the lack of a definable nexus between BHL’s conduct and the Attacks,

and the lack of any intent on BHL’s part to further the Attacks, Twitter requires

dismissal of Plaintiffs’ aiding-and-abetting claim. Although Twitter acknowledged



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there may be extraordinary circumstances where these pleading requirements may

be relaxed, those circumstances require that a “defendant[] so systemically and

pervasively assist[ed]” the terrorist group that it can “be said to aid and abet every

single . . . attack.” Id. at 501. As the Supreme Court noted, such a finding is reserved

for circumstances where “aiding-and-abetting liability begins to blur with

conspiracy liability,” and where “a defendant has so consciously participate[d] in a

series of tortious acts in order to make [each one] succeed.” Id. at 496; see also id.

at 501-02 (no liability where “Plaintiffs do not claim that defendants intentionally

associated themselves with [the FTO’s] operations or affirmatively gave aid that

would assist each of [the FTO’s] terrorist acts” or otherwise “formed a near-common

enterprise” with the FTO). Plaintiffs do not even attempt to plead facts suggesting

that BHL aligned itself with Hamas or any other FTO in such a manner. To the

contrary, as the Treasury Department acknowledged, despite its AML lapses, BHL

“proactively cooperated with global law enforcement and blockchain vendors to

combat terrorist financing,” and “cooperated with Israeli law enforcement in

numerous seizures related to the al-Qassam brigades.” (Enzer Decl. Ex. 2 (FinCEN

Consent Order) at 46).

      Nor have Plaintiffs alleged that BHL marketed a “dangerous ware,” or offered

its services in an “unusual way” that could distinguish this case from the controlling

holding of Twitter. See 598 U.S. at 502. Cryptocurrency transactions are not



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inherently dangerous, but rather involve fungible digital assets functionally

equivalent to any other form of currency. See, e.g., Coinbase, Inc. v. SEC, 126 F.4th

175, 203 n.11 (3d Cir. 2025) (recognizing that “digital assets are a growing part of

the financial sector and are emerging as an increasingly important form of online

payment”). And BHL—by the Complaint’s own account—offered only routine

exchange services to over 120 million users worldwide. (Compl. at 17). Those

services are not qualitatively different from the services offered by numerous other

types of financial institutions, which are neither inherently dangerous nor unusual,

even when coupled with the failure to comply with identical AML duties.9 See, e.g.,

Siegel v. HSBC North America Holdings, Inc., 933 F.3d 217, 225 (2d Cir. 2019)

(dismissing JASTA claim despite admitted AML failures); O’Sullivan, 2019 WL

1409446 (same); compare id., with Twitter, 598 U.S. at 502 (citing Direct Sales Co.

v. U.S., 319 U.S. 703, 707, 711-12, 714-15 (1943) (registered morphine distributor

could be liable as a coconspirator of an illicit operation to which it mailed morphine

far in excess of normal amounts)).10


9
   Even if Plaintiffs could plausibly allege that one of these exceptions applies—
which they cannot—allegations of intent would still be required, and they are utterly
lacking here. See Twitter, 598 U.S. at 502 (where plaintiffs allege that defendant
offered “dangerous wares” or “unusual” services, “plaintiffs might be able to
establish liability with a lesser showing of scienter”).
10
   During the recent Supreme Court argument in Smith & Wesson Brands, Inc. et al.
v. Estados Unidos Mexicanos, No. 23-1141, Justice Kavanaugh expressed concerns
about imposing expansive aiding-and-abetting liability on the sale of legitimate

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      Indeed, to suggest that a violation of AML duties equates to substantial

assistance would effectively create civil liability for BSA/AML noncompliance

whenever users took advantage of the lapses to commit crimes, something courts

have repeatedly rejected. See, e.g., Bernhardt v. Islamic Republic of Iran, 47 F.4th

856, 870 (D.C. Cir. 2022) (dismissing aiding-and-abetting claim and holding that

JASTA “do[es] not equate the evasion of sanctions with terrorism liability”); Rosner

v. Bank of China, 528 F. Supp. 2d 419, 427 (S.D.N.Y. 2007) (bank’s alleged AML

violations, “even if true, . . . do not elevate [the bank’s] actions into the realm of

substantial assistance”), aff’d 349 F. App’x 637 (2d Cir. 2009); see also Twitter, 598

U.S. at 501 (“even if there were such a duty [to remove ISIS’s content], it would not

transform defendants’ distant inaction into knowing and substantial assistance that

could establish aiding and abetting the [specific] attack at issue.”). The same notion

should be rejected here.

         B. The Halberstam Factors Confirm That the Complaint Does Not
            State an Aiding-and-Abetting Claim.
       Twitter stated that the factors set forth in Halberstam v. Welch, 705 F.2d 472,

483-84 (D.C. Cir. 1983) are still relevant in determining whether aiding-and-abetting




products—which in that case were firearms—notwithstanding the fact that they are
indisputably dangerous, in ways currency clearly is not. (See Oral Argument Tr. at
88:12-89:10, Smith & Wesson Brands, Inc. et al. v. Estados Unidos Mexicanos, No.
23-1141 (Mar. 4, 2025), available at https://www.supremecourt.gov/oral_argum
ents/argument_transcripts/2024/23-1141_8m59.pdf.).

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liability has been sufficiently plead. Here, all six Halberstam factors weigh in favor

of dismissing Plaintiffs’ JASTA aiding-and-abetting claim:

 Nature of the Act: The Complaint relies on conclusory allegations that the
  routine services BHL provided were “indisputably important” to the Attacks. See
  Halberstam, 705 F.2d at 488. Plaintiffs allege that “access to outside funding” is
  important for FTOs, including Hamas; BHL’s failure to file SARs made “it
  harder for the U.S. government to cut off their finances”; and the Attacks
  demonstrated that expensive equipment and coordination was required. (See,
  e.g., Compl. ¶¶ 44, 48-49). Such general allegations fail to connect BHL’s
  routine services to any of the Attacks; ignore the multitude of FTO funding
  sources; and overlook that BHL “proactively cooperated with global law
  enforcement and blockchain vendors to combat terrorist financing.” (Enzer Decl.
  Ex. 2 (FinCEN Consent Order) at 46).

 Amount of Assistance: Plaintiffs do not allege that Defendants processed any
  transactions, let alone a substantial volume, that are directly linked to the Attacks.

 BHL’s Presence: Plaintiffs have not (and cannot) plead any facts to show that
  Defendants were present during the Attacks.

 BHL’s Relation: The Complaint does not allege that BHL had any relationship
  with Hamas or PIJ, or gave them any special treatment as compared to the 120
  million other users on the Binance exchange.

 BHL’s State of Mind: The Complaint alleges no affirmative act that Defendants
  undertook with the intent of facilitating the Attacks. Cf. Halberstam, 705 F.2d at
  487, 488 (“continuous participation” in two-person stolen goods venture as
  “banker, bookkeeper, recordkeeper, and secretary” reflected “intent and desire to
  make the venture succeed”); see also Twitter, 498 U.S. at 490 (no aiding-and-
  abetting liability where defendants were not alleged to have taken “affirmative
  act” with “intent of facilitating” the Reina attack).

 Duration of the Assistance: The Complaint alleges that BHL provided services
  to FTOs for years leading up to the Attacks, but says nothing about the “quality
  and extent” of the alleged relationship between BHL and FTOs (compared to
  BHL’s user base generally), nor does it suggest that the duration of the
  relationship resulted in an increased “amount of aid” provided. Halberstam, 705
  F.2d at 484 (“the length of time an alleged aider-and-abettor has been involved
  with a tortfeasor almost certainly affects the quality and extent of their

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   relationship and probably influences the amount of aid provided”). Plaintiffs also
   fail to connect any BHL-specific services temporally to any of the Attacks.

          C. The Complaint Does Not Allege That BHL Was Generally Aware
             of Any Role in the Relevant Terrorist Activity.
       Because Plaintiffs fail to allege knowing and substantial assistance, their

aiding-and-abetting claim fails, and the Court need not consider the general

awareness element.     But the Complaint’s failure to sufficiently plead general

awareness is an independent basis requiring dismissal of Count 1.

      To plead this element, Plaintiffs must demonstrate that Defendants were

“generally aware” that they were “playing a role in an FTO’s violent or life-

endangering activities.” Newman, 2024 WL 5063288, at *4 (quoting Linde, 882 F.3d

at 329). Although the Complaint cites to internal chats temporally removed from the

Attacks by many years (see Compl. at 16, 19), and otherwise makes unsupported and

conclusory allegations that BHL “knowingly facilitated transfers of money to

Hamas[,]” and “knowingly provided Hamas and Islamic Jihad with a platform with

which to illicitly accept funds from the United States” (id. at 3, ¶ 46), this is

insufficient to plead general awareness. See Newman, 2024 WL 5063288, at *4-5.

Simply put, even if BHL had notice that users associated with Hamas and PIJ were

attempting to transact on Binance, the Complaint fails to plausibly allege that BHL

was aware that it was “assuming a role” in Hamas and PIJ’s terrorist activities related

to the Attacks. Linde, 882 F.3d at 329.



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        Moreover, when assistance is alleged to have been provided to an FTO’s

intermediary—which is the most that is alleged here—a plaintiff must show that “(1)

the defendant was aware of the intermediary’s connection to the terrorist

organization, and (2) the intermediary is so closely intertwined with the terrorist

organization’s illegal activities as to give rise to an inference that the defendant was

generally aware of its role in the organization’s terrorist activities.” Bernhardt, 47

F.4th at 867-68, 870 (even where defendant “had client banks with ties to terrorist

organizations and [had] admitted to helping those banks evade U.S. sanctions[,]” it

was “not sufficient for aiding and abetting liability under the ATA”). Here, at most,

the Complaint alleges that BHL permitted certain unnamed customers with undefined

“associations” with Hamas or PIJ to conduct routine transactions on Binance; and

that at some unspecified point in time, BHL learned of these users’ apparent

“association” with Hamas or PIJ. (See, e.g., Compl. at 18 (“Crypto wallets at Binance

were found to interact with bitcoin wallets associated with groups designated as

terrorist organizations by the US and several other countries[.]”)). The Complaint

fails entirely to identify who these supposed intermediaries were, how they were

supposedly connected to an FTO, or when BHL supposedly learned of this

connection. This is plainly insufficient to establish general awareness.11


11
   The lack of specificity in Plaintiffs’ pleadings stands in stark contrast to ATA
cases where general awareness was adequately alleged, based on allegations that the
defendants were contemporaneously aware that their customers were closely linked

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VI.   THE COMPLAINT FAILS TO STATE A CONSPIRACY CLAIM UNDER
      THE ATA (COUNT 2).
         JASTA also imposes civil liability on defendants who “conspire[d] with the

  person who committed [the] act of international terrorism” that injured the plaintiff.

  18 U.S.C. § 2333(d)(2). To plead a conspiracy claim, Plaintiffs must plausibly

  allege: “(1) an agreement between two or more persons; (2) to participate in an

  unlawful act; (3) an injury caused by an unlawful overt act performed by one of the

  parties to the agreement; (4) which overt act was done pursuant to and in furtherance

  of the common scheme.” Newman, 2024 WL 5063288, at *9. Here, the Complaint’s

  conspiracy claim fails to plead facts plausibly supporting the existence of either an

  agreement to commit acts of terror, or an overt act in furtherance of that agreement.




  to FTOs. For example, the Supreme Court in Twitter concluded that general
  awareness had been pled where the complaint identified specific users and accounts
  on the defendants’ social media platforms that openly and unambiguously supported
  ISIS, 598 U.S. at 497, including, for example, Twitter accounts in the name of “Al-
  Hayat Media Center,” ISIS’s official public relations group. (See Amended
  Complaint at ¶¶ 14-17, Taamneh v. Twitter, Inc., No. 3:17 Civ. 04107 (EMC) (N.D.
  Cal. May 16, 2018), ECF No. 55). Likewise, in Kaplan, plaintiffs’ complaint
  identified specific bank customers with strong ties to Hezbollah, which were evident
  from public reporting. Kaplan v. Lebanese Canadian Bank, SAL, 999 F.3d 842, 849-
  50 (2d Cir. 2021). And in Honickman v. BLOM Bank SAL, where the Second Circuit
  determined the complaint failed to allege general awareness, plaintiffs’ complaint
  still identified specific customers that plaintiffs alleged had longstanding ties to
  Hamas. 6 F.4th 487, 491-92, 501 (2d Cir. 2021).


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         A. Plaintiffs Do Not Allege an Agreement Between BHL and FTOs to
            Commit Acts of International Terrorism.
      Pleading an agreement in a JASTA conspiracy claim requires plausible

allegations that the coconspirators were “pursuing the same object”—namely, “an

agreement . . . to carry out [a] scheme of international terrorism.” Id. Here, the

Complaint offers only a barebones conclusion regarding the alleged conspiracy

(Compl. ¶ 65), but does not allege facts supporting any agreement at all between

BHL and the FTOs—let alone an agreement to commit terrorism. This by itself is

fatal to the conspiracy claim, which requires Plaintiffs to plead a common goal of

committing terrorism. Newman, 2024 WL 5063288, at *10 (dismissing JASTA

conspiracy claim that “fail[ed] to plausibly allege any agreement to commit an act

of international terrorism.”); Zobay, 695 F. Supp. 3d at 355 (same).

      At most, the Complaint alleges that BHL “prioritize[d] commercial success

over compliance with U.S. law” and evaded AML requirements, while the FTOs

sought to commit acts of terror. (Compare Compl. at 10, ¶ 47, with id. ¶ 38). Courts

routinely reject JASTA conspiracy claims like this, where the supposed

coconspirators’ “objectives are wholly orthogonal to one another.”          See, e.g.,

Bernhardt, 47 F.4th at 873; Freeman v. HSBC Holdings PLC, 57 F.4th 66, 79-80

(2d Cir. 2023), cert. denied, 144 S. Ct. 83 (2023); Kemper, 911 F.3d at 395.

      Moreover, even if it were assumed that BHL had notice that FTOs were using

the Binance exchange in real-time—as opposed to in hindsight, which is all the


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Complaint plausibly alleges—that would still be insufficient to state a JASTA

conspiracy claim, since allegations of mere knowledge “do not permit [an] inference

that [BHL] agreed with [Hamas or PIJ], expressly or impliedly, [to commit acts of

terror].” In re Chiquita Brands International, Inc., 284 F. Supp. 3d 1284, 1316 (S.D.

Fla. 2018); Freeman, 57 F.4th at 79 (no conspiracy where bank processed

transactions for known terrorist affiliates). Accordingly, Plaintiffs’ conspiracy claim

should be dismissed for failure to plausibly allege an agreement.

          B. Plaintiffs Fail to Allege an Overt Act in Furtherance of an
             Agreement to Commit Terrorism.
       The JASTA conspiracy claim must be dismissed for the additional reason that

Plaintiffs fail to adequately plead “an overt act . . . in furtherance of the common

scheme” to commit terrorism. Newman, 2024 WL 5063288, at *9. “[T]he overt act

must be the act of international terrorism that injures the plaintiff.” Bernhardt, 47

F.4th at 873.

       Even if Plaintiffs had adequately alleged an agreement between BHL and the

FTOs—which they have not, and cannot—Plaintiffs’ conspiracy claim would still

fail because they cannot allege the Attacks were “the overt act that furthered a

conspiracy between [BHL] and [the FTOs].” Id.; (see Compl. ¶¶ 19-27; 40-43). It

is simply not “plausible to infer” that a series of barbaric attacks on civilians in Israel

would “further [BHL’s] alleged objective of maximizing profits through the evasion

of [various U.S. financial regulations].” Bernhardt, 47 F.4th at 873; see also


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   Freeman, 57 F.4th at 82. Given its failure to plead an overt act, Plaintiffs’ conspiracy

   claim must be dismissed on this independent ground.

VII.   PLAINTIFFS’ CLAIM UNDER THE ATS FAILS FOR LACK OF
       JURISDICTION (COUNT 5).
          The ATS provides that “[t]he district courts shall have original jurisdiction of

   any civil action by an alien for a tort only, committed in violation of the law of

   nations or a treaty of the United States.” 28 U.S.C. § 1350. The ATS “is a strictly

   jurisdictional statute”—i.e., it does not provide for an independent cause of action—

   rather it “empowers federal courts to recognize [a very limited number of] private

   claims under federal common law.” Doe v. Drummond Co., 782 F.3d 576, 583 (11th

   Cir. 2015).

          In Jesner v. Arab Bank, PLC, the United States Supreme Court held

   unequivocally that foreign corporations cannot be sued under the ATS. 584 U.S. at

   272 (“[T]he Court holds that foreign corporations may not be defendants in suits

   brought under the ATS.”). As Plaintiffs themselves concede, BHL is incorporated

   in the Cayman Islands. (Compl. ¶ 29). It therefore cannot be sued under the ATS.

   See Alvarez Galvez v. Fanjul Corp., 533 F. Supp. 3d 1268, 1276 (S.D. Fla. 2021)

   (dismissing ATS claim against a British Virgin Islands corporation with its principal

   place of business in the Dominican Republic for lack of subject matter jurisdiction)

   (citing Jesner, 584 U.S. at 272).




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            To avoid burdening the Court with duplicative briefing, BHL also adopts and

    joins in BAM’s argument that Plaintiffs’ claims under the ATS fail to overcome the

    presumption against extraterritoriality, and are otherwise insufficiently pled. (BAM

    Br. at Section III.D).

VIII.    THE COMPLAINT FAILS TO STATE A CLAIM FOR NEGLIGENT
         INFLICTION OF EMOTIONAL DISTRESS (COUNT 6).
            Plaintiffs’ attempt to assert a state law claim for negligent infliction of

    emotional distress (“NIED”) fails for the simple reason that the State of Alabama

    does not recognize such a cause of action. Flagstar Enterprises, Inc. v. Davis, 709

    So. 2d 1132, 1141 n.5 (Ala. 1997) (“[T]here is no cause of action in Alabama for the

    negligent infliction of emotional distress[.]”); see also Taylor v. Alabama, 95 F.

    Supp. 2d 1297, 1318 (M.D. Ala. 2000) (dismissing NIED claim because it is not

    recognized in Alabama).12

            Even if the Court were to construe the Complaint as asserting a claim for

    negligence—which it should not—Plaintiffs’ claim would still fail. To plead a claim

    for negligence per se under Alabama law (see Compl. ¶ 77 (alleging “a willful




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       Although the Complaint is unclear about what law Plaintiffs believe applies to
    their NIED claim, BHL assumes for purpose of this motion that it is Alabama state
    law because: (1) in opposing transfer of this action to the Southern District of New
    York, Plaintiffs relied, in part, on their “Alabama state law claim” (ECF No. 35, at
    15), and (2) Plaintiffs have not filed a notice under Fed. R. Civ. P. 44.1 reflecting an
    intention to rely upon foreign law.


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violation of a statutory standard”)), “a plaintiff must prove: (1) that the statute the

defendant is charged with violating was enacted to protect a class of persons to which

the plaintiff belonged; (2) that the plaintiff’s injury was the kind of injury

contemplated by the statute; (3) that the defendant violated the statute; and (4) that

the defendant’s violation of the statute proximately caused the plaintiff’s injury.”

Cherry v. Pinson Termite & Pest Control, LLC, 206 So. 3d 557, 567 (Ala. 2016).

Here, as explained above (Section IV), the Complaint fails to adequately allege a

statutory violation by BHL or that BHL proximately caused Plaintiffs’ injuries. See

Jarvis v. Taylor, 2018 WL 1833874, at *3 (M.D. Ala. Feb. 12, 2018) (dismissing

negligence claim where the complaint stated only “a formulaic recitation of elements

with no discernable effort to distinguish the alleged duty, breach, harm, or damages

in any way from those otherwise pleaded” in other counts), report and

recommendation adopted, 2018 WL 1831419 (M.D. Ala. Apr. 17, 2018). As a

consequence, Plaintiffs’ claim, whether construed as a claim for NIED or

negligence, must be dismissed.

                                  CONCLUSION
      The Court should dismiss the Complaint with prejudice against BHL. BHL

respectfully requests oral argument on this motion.




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Date: April 14, 2025

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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing has been filed with the

Court and served by the Court’s ECF system, on this the 14th day of April, 2025,

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